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                         THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


FEDERAL TRADE COMMISSION,

                 Plaintiff,

            v.                                       Case No.: 4:23-CV-03560-KH

U.S. ANESTHESIA PARTNERS, INC., et al.

                 Defendants.


  [PROPOSED] ORDER GRANTING DEFENDANT U.S. ANESTHESIA PARTNERS,
           INC.’S MOTION FOR LEAVE TO AMEND ITS ANSWER

       The Court has considered Defendant U.S. Anesthesia Partners, Inc.’s (“USAP”) Motion

For Leave To Amend Its Answer, the FTC’s Opposition, and USAP’s Reply. It is hereby

ORDERED that the Motion For Leave To Amend is GRANTED. Within three business days,

USAP shall file its amended Answer.

       It is so ORDERED.



       SIGNED ON _________________, in Houston, Texas.


                                                     Kenneth M. Hoyt
                                                     United States District Judge
